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                EXHIBIT 2
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 1                         UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
 2                               EASTERN DIVISION
 3     MISH INTERNATIONAL MONETARY, INC., )
       on behalf of itself and all others )
 4     similarly situated,                )
                                          )
 5                    Plaintiff,          )
                                          )
 6          vs.                           )         No. 20 C 4577
                                          )
 7     VEGA CAPITAL LONDON, LTD., et al., )         Chicago, Illinois
                                          )         May 30, 2024
 8                    Defendants.         )         9:30 o'clock a.m.
 9
                            TRANSCRIPT OF PROCEEDINGS -
10                      Telephone Motion Hearing and Ruling
                        BEFORE THE HONORABLE MANISH S. SHAH
11
12     APPEARANCES (Telephonically):
13     For the Plaintiff:            LOVELL STEWART HALEBIAN JACOBSON, LLP
                                     BY: MR. CHRISTOPHER M. McGRATH
14                                        MR. CHRISTOPHER LOVELL
                                     500 Fifth Avenue, Suite 2440
15                                   New York, New York 10110
                                     (212) 608-1900
16
17     For Defendants Vega           AKERMAN, L.L.P.
       Capital London and            BY: MR. MICHAEL P. KELLY
18     Adrian Spires:                750 Ninth Street, Suite 750
                                     Washington, D.C. 20001
19                                   (202) 824-1716
20                                   AKERMAN, L.L.P.
                                     BY: MS. AMY GRAHAM DOEHRING
21                                        MR. SHAWN M. TAYLOR
                                     71 South Wacker Drive, 47th Floor
22                                   Chicago, Illinois 60606
                                     (312) 634-5700
23
24
25



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 1     APPEARANCES (Continued - Telephonically):
 2
 3     For Defendants Vega           AKERMAN, L.L.P.
       Capital London and            BY: MR. JOEL S. FORMAN
 4     Adrian Spires (Cont'd):       520 Madison Avenue, 20th Floor
                                     New York, New York 10022
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 6                                   DOWD BENNETT, L.L.P.
                                     BY: MS. MICHELLE NASSER
 7                                   7676 Forsyth Boulevard, Suite 1900
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 8                                   (314) 889-7300
 9
       For the Trader                DECHERT, L.L.P.
10     Defendants:                   BY: MR. MATTHEW MAZUR
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11                                   Three Bryant Park
                                     New York, New York 10036
12                                   (212) 698-3500
13
       For Subpoena Respondent/ LOCKE LORD, L.L.P.
14     Nonparty Vitol, Inc.:    BY: MR. P. RUSSELL PERDEW
                                     MS. BELLA SEEBERG
15                              111 South Wacker Drive
                                Chicago, Illinois 60606
16                              (312) 443-1712
17
       For Subpoena Respondent/ HERBERT SMITH FREEHILLS NEW YORK, LLP
18     Nonparty Glencoe, Ltd.: BY: MR. PETER BEHMKE
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20
21
22
                          COLLEEN M. CONWAY, CSR, RMR, CRR
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24                            Chicago, Illinois 60604
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 1           (Proceedings heard telephonically:)
 2                 THE COURT: Good morning. This is Judge Shah.
 3     The clerk will call the case.
 4                 THE CLERK: 20 CV 4577, Mish International Monetary
 5     versus Vega Capital.
 6                 THE COURT: Good morning, everyone. I understand
 7     that counsel of record have their appearances noted with our
 8     court reporter, so I am not going to run through the roll call
 9     this morning.
10                 I want to start with the motion to lift the
11     confidentiality designations on Dr. Pirrong's deposition.
12                 I saw plaintiff's response. Plaintiff takes no
13     position on the motion. No one thinks that these pages, pages
14     534, 548, 549, 550, and 551, contain secrets that must be kept
15     from the public in this litigation. So the motion is granted.
16                 Let me ask counsel for Vega and Spires what you think
17     about lifting the confidentiality designations on paragraphs
18     334 to 337 of Dr. Pirrong's report, putting aside the question
19     of whether you need to attach those paragraphs to any kind of
20     filing in any other motion practice. But does Vega and
21     Defendant Spires have any objection to lifting the
22     confidentiality designations of those paragraphs?
23                 MR. KELLY: Good morning, Your Honor. This is
24     Michael Kelly for Vega.
25                 And we don't have an objection to lifting the



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 1     confidentiality restrictions on those four paragraphs.
 2                 THE COURT: And on behalf of Plaintiff Mish, confirm
 3     for me that you, too, are comfortable lifting those
 4     confidentiality designations of those paragraphs.
 5                 I think that was the import of your response, but
 6     just making sure I am on the same page.
 7                 MR. McGRATH: Yes, Your Honor. This is Chris
 8     McGrath.
 9                 That's correct. We don't think that there's anything
10     in those paragraphs that reflects any confidential information
11     from any party or nonparty.
12                 THE COURT: So then I will lift the confidentiality
13     designations on paragraphs 334 to 337 of Dr. Pirrong's report.
14                 On behalf of Mish, is there any reason to keep your
15     current pending motion to seal your response, is there any
16     reason to keep that under seal anymore? Can I deny that motion
17     and unseal it as well?
18                 MR. McGRATH: Well, yes, Your Honor, is the short
19     answer. However, I think there are -- we submitted those
20     paragraphs, but there's also some additional paragraphs that
21     come before 334 and some that come after 337 that I think do
22     need to be redacted.
23                 Those aren't the paragraphs we're requesting to
24     unseal, but they just happen to be on the pages, so to --
25                 THE COURT: I did see that, I did see that, and I was



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 1     wondering if those other paragraphs mattered or not for sealing
 2     purposes. If that's your position, that's fine.
 3                 What I am going to do is, I'll grant the motion to
 4     file your response under seal and just leave it at that.
 5                 The motion, Vega's motion, as I just said, is
 6     granted. Those paragraphs -- in addition, those paragraphs are
 7     also lifted from the confidentiality designation, and the
 8     parties can just proceed accordingly.
 9                 I won't worry about sealing other redactions on
10     plaintiff's response. We'll just keep it sealed for now, and
11     we'll sort it out eventually.
12                 Let me give you a ruling on the motions, the pending
13     motions to quash and compel. And this relates to Vitol and
14     Glencore.
15                 Although there are other subpoena respondents who
16     have worked out compliance with subpoenas, I am persuaded that
17     Vitol's and Glencore's roles in the market make them different
18     and increases the potential relevance of their participation
19     and their insight into the events surrounding the May 2020 WTI
20     futures contract. Vitol's and Glencore's evidence may have
21     value that isn't already covered by other subpoena respondents.
22                 I also agree with Vega that the protective order can
23     mitigate the competitive risk. Ultimately, the information
24     will likely be mediated through expert testimony, which can
25     also separate the most sensitive information from falling into



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 1     the hands of the defendants themselves. That the experts are
 2     also consultants in the industry doesn't persuade me that they
 3     can't comply with the terms of a protective order. So
 4     relevance and confidentiality don't suffice to forgive Glencore
 5     and Vitol from complying with the subpoenas entirely.
 6                 I am not persuaded that the requested evidence will
 7     move the needle much on the typicality question. Looking at
 8     plaintiff's proposed class definition, it seems unlikely to me
 9     that the vagaries of a putative class member's trading
10     strategies or patterns will affect the decision on whether
11     plaintiff has a typical claim about defendants' conduct as
12     compared to anyone else who sold a May 2020 contract between
13     9:00 a.m. and 1:30 p.m. to liquidate a long position.
14                 But Vitol and Glencore are nonparties, and burdening
15     them with discovery should come with some extra caution. The
16     way to account for their burden, relevance, and confidentiality
17     concerns is to sharply curtail and limit the scope of
18     information to be provided in response to the subpoenas.
19                 Vega doesn't need the trades. Vega has plenty of
20     trading data. And I am persuaded that it doesn't make sense to
21     group Vitol's trades, for example, under one umbrella, given
22     that individual traders are doing their own thing. What is
23     most relevant to Vega is why the price went negative and why
24     these oil traders didn't seize on the negative price to make
25     profitable trades. Internal documents or communications about



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 1     that also happen to be the most proprietary or competitively
 2     sensitive from Vitol's or Glencore's perspective. Vega already
 3     has access to information to explain why the May contract was
 4     undesirable. But corroboration is relevant. The stakes are
 5     high in this case, and all parties and respondents can bear the
 6     expense of some discovery without disruption. Vitol's and
 7     Glencore's perception of the market and their understanding of
 8     storage capacity at Cushing are relevant to Vega's theories,
 9     and that's different than evidence of actual capacity.
10                 Vega's request for information "sufficient to show"
11     is an effort to limit burden on the subpoena respondents, and
12     subpoena respondents can make a sufficient showing with, I
13     conclude, minimal burden and minimal revelation of
14     competitively sensitive information, as I'll describe.
15                 So after balancing all of the requisite interests
16     here, I am ordering the subpoena respondents, Vitol and
17     Glencore, to respond on three topics and produce documents on
18     three topics:
19                 No. 1, documents sufficient to show your
20     understanding of storage at Cushing for the May WTI contract as
21     of April 20, 2020;
22                 2. Documents sufficient to show whether and when you
23     thought the price for the May WTI contract would go negative.
24     You don't need to produce documents explaining in depth how or
25     why you knew that, but some indicia of the basis for that



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 1     belief; if it existed, that belief;
 2                 Finally, No. 3, documents sufficient to show your
 3     communications with CME, the New York Mercantile Exchange, or
 4     the Intercontinental Exchange about the May 2020 WTI contract,
 5     limited to notices received from those entities, your responses
 6     to those entities, and correspondence with those entities about
 7     the April 20, 2020 and April 21, 2020 trading in the May 2020
 8     WTI contract.
 9                 Stepping back a bit. I suspect there are executive
10     summaries of Glencore's and Vitol's understanding and reaction
11     to the May 2020 WTI futures contract, and that's what should be
12     produced.
13                 Again, to give you a sense of where I am coming from,
14     I agree with Vega that it's reasonable to expect that, for
15     example, Vitol's CEO received some sort of briefing, and that
16     kind of document would be sufficient to comply with my order.
17                 Notwithstanding the protection of the protective
18     order, subpoena respondents can redact analysis. I am not
19     turning third parties into unretained experts here.
20                 I am inclined to give the subpoena respondents about
21     five weeks to comply. Hopefully, you can comply sooner than
22     that.
23                 And I also would expect that you may need to meet and
24     confer and discuss a little bit. And, hopefully, you don't
25     need more direction from me in light of this ruling, but you



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 1      may.
 2                 I am not awarding any fees or costs in connection
 3      with any of these motions because both sides were substantially
 4      justified in their positions.
 5                 Let me pause here and ask counsel for Vitol if five
 6      weeks is a reasonable deadline for you to synthesize what I
 7      have just said and comply with it.
 8                 MR. PERDEW: Good morning, Your Honor. Russell
 9      Perdew on behalf of Vitol. Thank you for the chance to be
10      here.
11                 I believe it is. I would like to just touch base
12      with my client, and I guess I don't want to rule out the
13      possibility that some issue might come up, but five weeks seems
14      appropriate, and so I am going to do everything I can to make
15      sure that we can comply in that time.
16                 THE COURT: Given the Fourth of July holiday here, I
17      will bump that out to Tuesday, July 9th for compliance.
18                 Let me ask counsel for Glencore whether you have any
19      issues with that timetable?
20                 MR. BEHMKE: Thank you, Your Honor. Peter Behmke on
21      behalf of Glencore.
22                 I don't believe we'll have any issues with that
23      timetable. I do think it's appropriate. Although, I'll need
24      to consult with my client on the specifics.
25                 Your Honor, I do have a question about the protective



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 1      order, if it's appropriate to raise that now.
 2                 THE COURT: Sure. Go ahead.
 3                 MR. BEHMKE: Okay. So under the protective order, as
 4      I understand it, there's no limitation on the ability of, say,
 5      the defendants or the plaintiffs to take the Glencore-produced
 6      information and put it in front of a witness, including a
 7      third-party witness, at a deposition. So, for example, they
 8      could take the Glencore documents and put it in front of the
 9      head trader for Exxon and ask them whether, you know, they had
10      a similar view or, you know, et cetera.
11                 Would it be possible -- perhaps we can do this
12      offline. But I'd like the opportunity to meet and confer with
13      the parties to negotiate some -- you know, some additional
14      restrictions and limitations to the protective order, just to
15      make sure that -- you know, that that sort of information is
16      not going to, you know, its competitors.
17                 I understand that, of course, the witness is not
18      allowed to, quote-unquote, use that information for any
19      business purpose, but, you know, of course, once, you know, a
20      trader sees it, it's hard to forget it in the course of -- you
21      know, when they go back to work the next day.
22                 So that's one example. I think --
23                 THE COURT: Understood.
24                 MR. BEHMKE: -- there are a couple other issues --
25                 THE COURT: Let me --



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 1                 MR. BEHMKE: -- (inaudible) we need to produce.
 2                 THE COURT: Understood. Let me interrupt just to
 3      say, I will -- part of why I thought five weeks is an
 4      appropriate timetable here is I anticipate some meeting and
 5      conferring and seeing if you can't work something out,
 6      including on whether any additional provisions of the
 7      protective order ought to be in place.
 8                 For your purposes moving forward, I will say that I
 9      understand those concerns. Likely, there are ways to limit
10      exposure or examination of the information. The terms of the
11      protective order are likely good enough in most instances, but
12      if there are particular concerns, first, try to work it out
13      with the parties; and if you can't, let me know, and I'll see
14      if I can help with a concrete -- if there is a concrete issue
15      or an example.
16                 A lot of this is going to depend on what the
17      information ultimately is that is produced. I have tried to
18      keep it fairly narrow and what I expect to be ultimately not
19      particularly controversial, especially with the passage of
20      time.
21                 So you'll have to think through all of those issues.
22      But yes, you have time to meet and confer and think about
23      whether the protective order needs any adjustments.
24                 Let me ask --
25                 MR. BEHMKE: Thank you.



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 1                 THE COURT: -- Vega, counsel for Vega if there are
 2      any issues you have with that timetable that I just gave the
 3      subpoena respondents?
 4                 MR. KELLY: We do not. Thank you, Your Honor.
 5                 THE COURT: For the -- well, let me just provide the
 6      conclusion. For the reasons stated, Vitol's motion to quash in
 7      case No. 24-1492 is granted in part; and Vega's motion to
 8      compel in case No. 24-2628 is granted in part.
 9                 For the -- what I gather to be a looming fight over
10      some depositions, I'll just let people know that I'd be
11      interested in knowing whether a deposition is more burdensome
12      than producing documents or whether there is some way for a
13      deposition without documents, of some kind of sophisticated
14      market participant who can explain what they thought was going
15      on with this contract, might be simpler than digging through
16      documents.
17                 That's just a thought that crossed my mind. And I
18      think it's probably easy for me to say because I don't have to
19      prep a witness for a deposition, and I don't have to prepare to
20      take or defend a deposition, but I thought I would throw that
21      out there while I had everybody on the phone this morning.
22                 I think -- let me ask Vega, are there looming
23      discovery motions coming my way?
24                 MR. KELLY: Your Honor, yes, there are.
25                 BP Products North America, Inc. has filed a motion to



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 1      quash a deposition subpoena in the Northern District of
 2      Illinois.
 3                  The motion was assigned to Judge Pacold, and we have
 4      reached an agreement with BP Products that we would move to
 5      reassign the case to Your Honor, with a proposed briefing
 6      schedule for that case.
 7                  And then the second motion to quash has been filed in
 8      the Southern District of Texas. It was filed on Friday. And
 9      we've reached an agreement with Shell Trading (U.S.) Company
10      that that motion will be transferred to the Northern District
11      of Illinois. And we hope to file the unopposed motion to
12      transfer this week, so it will probably show up in court, I
13      assume, sometime next week. And we can go through the same
14      process with moving to reassign it to the Court if it's
15      assigned to another judge in the district.
16                  THE COURT: That's all fine. I will keep my eye out
17      for that motion practice.
18                  And you can anticipate that the motions to reassign
19      will be granted and I'll take those motions.
20                  And you can also anticipate that I'll agree to
21      whatever agreed briefing schedule the parties have worked out.
22                  Let me ask plaintiff's counsel if there's anything --
23      since we're all together this morning, if there's anything I
24      can help you with this morning?
25                  MR. McGRATH: Not from the plaintiffs, Your Honor.



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 1      Thank you.
 2                 THE COURT: From Vega and Defendant Spires'
 3      perspective, anything else you'd like to raise with me?
 4                 MR. KELLY: Nothing further. Thank you, Your Honor.
 5                 THE COURT: On behalf of the Trader defendants, is
 6      there anything you'd like to raise?
 7                 MR. MAZUR: No. Thank you, Your Honor.
 8                 THE COURT: Thank you, everyone, for calling in.
 9                 We are in recess.
10           (Proceedings concluded.)
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 1                               C E R T I F I C A T E
 2
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 4
 5                       I, Colleen M. Conway, do hereby certify that the
 6      foregoing is a complete, true, and accurate transcript of the
 7      Motion Hearing and Ruling proceedings had in the above-entitled
 8      case before the HONORABLE MANISH S. SHAH, one of the Judges of
 9      said Court, at Chicago, Illinois, on May 30, 2024.
10
11
12               /s/ Colleen M. Conway, CSR, RMR, CRR              05/30/2024
13                      Official Court Reporter                       Date
                     United States District Court
14                  Northern District of Illinois
                           Eastern Division
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